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   United States Court of Appeals
       for the Federal Circuit
                   ______________________

     POKARNA ENGINEERED STONE LIMITED,
                  Plaintiff

                M S INTERNATIONAL, INC.,
                      Plaintiff-Appellant

                             v.

    UNITED STATES, CAMBRIA COMPANY LLC,
              Defendants-Appellees
             ______________________

                         2022-1077
                   ______________________

    Appeal from the United States Court of International
 Trade in No. 1:20-cv-00127-LMG, Senior Judge Leo M.
 Gordon.
                 ______________________

                        MANDATE
                   ______________________

     In accordance with the judgment of this Court, entered
 January 5, 2023, and pursuant to Rule 41 of the Federal
 Rules of Appellate Procedure, the formal mandate is
 hereby issued.

                                   FOR THE COURT

 February 28, 2023                 /s/ Peter R. Marksteiner
       Date                        Peter R. Marksteiner
                                   Clerk of Court
